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                                                                Piled in U.S. Bankruptcy
       UNITED STATES BANKRUPTCY COURT OF GEORGIA                        Atlanta, Georgia Court
                                                                  M. Regina Thomas,
                                                                                       Clerk
                        NORTHERN DISTRICT
                                                                     JUL
                                                           AE         Deputy
 CASSANDRA JOHNSON-LANDRY             )
 DEBTOR                                      BRC 18-55697 LRC




 SUBMISSION: AMENDED OBJECTION TO CLAIM NUMBER 6 MIDLAND FUNDING
 LLC. (21555879)

 CASSANDRA JOHNSON-LANDRY, DEBTOR SUBMITS AMENDED OBJECTION TO CLAIM

 NUMBER 6, MIDLAND FUNDING (21555879). ADDITIONAL DOCUMENTS WERE SUBMITTED

 AFTER INITIAL CLAIM WAS FILED. IT APPEARS THE PROOF OF CLAIM FORM USED IS NOT

 UNIFORM WITH THE REQUIRED FORM FROM THE DOJ TRUSTEE/BANKRUPTCY DIVISION.

 (EXHIBIT A).


 THE CORRECT NAME FOR MIDLAND FUNDING LOCATED AT THE MICHIGAN ADDRESS IS

 MIDLAND CREDIT MANAGAMENT INC, WHICH IS THE AGENT FOR MIDLAND FUNDING

 LLC, WHICH IS LISTED AS THE CREDITOR (EXHIBIT B).


 DEBTOR REQUEST CLAIM BE DISALLOWED DUE TO FRAUD ACCOUNT AND REPORTING

 INFORMATION PERTAINING TO LAST TRANSACTION DATE AND PAYMENT DATE WHICH

 IS NOT CORRECT AS WELL. REFER TO (EXHIBIT C) FOR THE PURPOSE OF VIEWING

 MULTIPLE SAMS ACCOUNTS WHICH ARE NOT DEBTOR'S ACCOUNTS. ALSO,

 INFORMATION REGARDING AGENT FOR CREDITOR MUST BE LISTED ON CLAIMS

 REGISTER CORRECTLY.


 16' OF JULY 2021

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 CASSANDRA JOHNSON-LANDRY, PRO


                                                                                        1
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        UNITED STATES BANKRUPTCY COURT OF GEORGIA
                         NORTHERN DISTRICT
                      CERTIFICATE OF SERVICE

 I, CASSANDRA JOHNSON-LANDRY, DEBTOR CURRENTLY SUBMIT AMENDED

 OBJECTION TO CLAIM NUMBER 6 MIDLAND FUNDING LLC, (21555879). DEBTOR IS

 OVER THE AGE OF 18 YEARS. AMENDED OBJECTION TO CLAIM #6 SUBMITTED BY

 FIRST CLASS USPS MAIL ON 16Th OF JULY 2021.


        AMY MARZOUG
        MIDLAND CREDIT MANANGEMENT, INC
        P.O.BOX 2011
        WARREN, MI 48090


        HERBERT C. BROADFOOT II
        2964 PEACHTREE ROAD, NW.
        SUITE 555
        ATLANTA, GA 30305

        S. GREGORY HAYS
        2964 PEACHTREE ROAD, NW.
        SUITE 555
        ATLANTA, GA 30305




 16TH OF JULY 2021

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 CASSANDRA JOHNSON-LANDRY, PRO SE




                                                                                2
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   Fill in this information to identify the case


   Debtor 1 CASSANDRA JOHNSON LANDRY

   Debtor 2
              (Spouse if filing)

  United States Bankruptcy Court for the: NORTHERN District of GEORGIA

  Case number 18-55697


Official Form 410
Proof of Claim                                                                                                                              04-16
Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. Do not use this form to make a request
for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.

Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies of anydocuments
that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments, mortgages, and
security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available, explain in an attachment.

A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both, 18 U.S.C. § 152, 157, and 3571.

Fill in all the information about the claim as of the date the case was tiled. That date Is on the notice of bankruptcy (Form 309) that you received.
   Part I:           Identify the Claim
 1. Who is the current             MIDLAND FUNDING LLC
     creditor?                     Name of the current creditor (the person or entity to be paid for this claim

                                   Other names the creditor used with the debtor SYNCHRONY BANK / SAM S CLUB
2. Has this claim been
                                     No
    acquired from
    someone else?                  1714 Yes, From whom? SYNCHRONY BANK / SAM S CLUB
 3. When, should notices           Where should notices to the creditor be sent?                Where should payments to the creditor be sent (if Different)
    and payments to the                              ,
     creditor be sent?             MIDLAND CREDIT MANAGEMENT. INC. as agent
                                   for MIDLAND FUNDING LLC
     Federal Rule of               Name                                                         Name
     Bankruptcy Procedure
     (FRBP) 2002(g)                PO Box 2011
                                   Number    Street                                             Number            Street

                                   Warren                   A411              48090
                                   City                     State            Zip Code           City                         State                Zip Code

                                   Contact phone (877) 495-2902                                 Contact phone

                                   Contact email: mbx ilms bankruptev@mcmcg.com                 Contact email

                                   Uniform claim identifier for electronic payments in chapter 13 (if you use one):



4. Does this claim amend
                                   Q1 No
    one already tiled?
                                                                                                                  Filed On
                                                                                                                             MM/DD/YYYY
                                      Yes, Claim number on court claims registry (if. known)
5. Do you know if anyone
                               No
    else has filed a proof
    of claim for this claim? DYes, Who made the earlier filing?
Ott'icial'Form                                                           Proof of Claim                                              241
                                                                                                                                     Page 1




BK 0025 Account No.: 18-136971
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   Part '):           Give Information About the Claim as of the Date the Case Was Filed
 6. Do you have any number
     you use to identify the
                                     •   No
                                         Yes, Last 4 digits of the debtor's account or any number you use to identify the debtor; XXXXXXXXXXXX-0804
     debtor?
 7. Row much is the claim?.
                                     $9,000.99                             Does this amount include interest or other charges?
                                                                           1,11 No
                                                                           •    Yes. Attach statement itemizing interest, fees, expenses, or other
                                                                                     charges required by Bankruptcy Rule 3001(c)(2)(A).




 8. What is the basis of the         Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful death, or credit card.
     claim?
                                     Attach redacted copies of any documents supporting the claim required by Bankruptcy Rule 3001(c).

                                     Limit disclosing information that is entitled to privacy, such as health care information.

                                     REVOLVING CREDIT/SERVICES RENDERED

 9. Is all or part of the claim      l6,11 No
     secured?                        III Yes. The claim is secured by a lien on property.
                                               Nature of property:
                                                  Real estate. If the claim is secured by the debtor's principal residence, tile a Mortgage Proof of Claim
                                                               Attachment (Official Form n 410-A) with this Proof of Claim.
                                               ii Motor vehicle
                                               • Other: Describe:


                                               Basis for perfection:
                                               Attach redacted copies of document, if any, that show evidence of perfection of a security interest (for example
                                               a mortgage, lien, certificate of title, financing statement, or other document that shows the lien has been filed or
                                               recorded:)

                                                Value of property                        $

                                               Amount of the claim that is secured:      $

                                               Amount of the claim that is unsecured    •$                           (The sum of the secured and
                                                                                                                     unsecured amounts should
                                                                                                                     match the amount in line 7.)

                                               Amount necessary to cure any default as of the date of the petition: $

                                               Annual Interest Rate (when case was filed)                    %

                                               • Fixed
                                               MI Variable

 10. Is the claim based on a
      lease?
                                     k2 No
                                     ilil Yes. Amount necessary to cure any default as of the date of the petition     $

 11. Is this claim subject to a
                                     Fq No
      right of setoff?
                                         Yes. Identify the property:

Official Form 410                                                        Pmninf rInirn                                                 em 1

                                                                                                                                       Page 2




131(..0025 Account No.: 18- 136971
          Case 18-55697-lrc                  Doc 413    Filed 07/16/21 Entered 07/16/21 15:01:49 Desc Main
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12. Is all or part of the claim       No
     entitled to priority under       Yes. Check all that apply:                                                                         AmoOra'ontitled to:priority
    11 U.S.C. § 507(a)?               0 Domestic support obligations (including alimony and child support) under
                                      II          § 507(a)(I)(A) or (a)( 1)(B).
     A claim may be partly
     priority and partly              0    Up to $2,850* of deposits toward purchase, lease, or rental of property or services
     nonpriority. For example,        for personal, family, or household use, 11 U.S.C. § 507(a)(7).
     in sonic categories, the
     law limits the amount            0 Wages, salaries, or commissions(up to $ 12,850*) earned within 180 days before
     entitled to priority             the bankruptcy petition is filed or the debtor's business ends, whichever is earlier.
                                      11 U.S.C. § 507(a)(4).

                                      0    Taxes or penalties owed to governmental units, II U.S.C. § 507(a)(B).

                                      0Contributions to an employee benefit plan. 11 U.S.C, § 507(a)(5).

                                      0    Other. Specify subsection of II U.S.C. § 507(a)(          ) that applies,


                                      * Amounts arc subject to adjustment on 4/01/19 and every 3 years after that for cases begun on or after the date of adjustment

lig=                Sign Below
The person completing             Check the appropriate box:
this proof of claim must
sign and date it.                      I am the creditor.
FRBP 9011(b).                          I am the creditor's attorney or authorized agent.
                                       lam the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
If you file this claim            H    I am a guarantor, surety, endorser, or other codebtor Bankruptcy Rule 3005.
electronically, FRBP
5005(a)(2) authorizes courts      I understand that an authorized signature on this Proof of Claim serves as an acknowledgment that when calculating the
to establish local rules          amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.
specifying what a signature       I have examined the information in this Proof of Claim and have a reasonable belief that the information is true
is.                               and correct.

A person who files a              I declare under penalty of perjury that the foregoing is true and correct,
fraudulent claim could he
lined up to $500,000,             executed on date 5/21/2015
imprisoned for up to 5 years,                      MM/DD/YYYY
or both.
18 U.S.C. § 152,157, and                  /s/     Amy Marzouo
3571.                                     Signature

                                  Print the name of the person who is completing and signing this claim:

                                  Name             Amy Marzoug
                                                   First name             Middle name               Last name

                                  Title            Bankruptcy Specialist

                                  Company        MIDLAND CREDIT MANAGEMENT. INC,
                                  Identify the corporate scrvicer as the company if the authorized agent is a servicer.

                                  Address         P 0 Box 2011
                                                  Street Address


                                                  WARREN                                    MI                48090
                                                  City                                      State             Zip Code


                                  Contact phone (877) 495-2902                            Email inbx ilms bankruptcy@rnernea.conn

Official Form 410                                                        Proof of Claim                                                      241
                                                                                                                                             Page 3



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                                                  ACCOUNT(S) SUMMARY

 ACCOUNT INFORMATION:

 ACCOUNT HOLDER(S)                                        CURRENT CREDITOR
 CASSANDRA LANDRY                                         MIDLAND FUNDING LLC



 ORIGINAL CREDITOR NAME                    ORIGINAL CREDITOR ACCOUNT NO     ASSIGNOR (if other than original creditor)
 SYNCHRONY BANK / SAM S CLUB               XXXXXXXXXXXX-0804




 TOTAL CLAIM AMOUNT              UNSECURED PRINCIPAL      INTEREST DUE           FEES                    COSTS
 $9,000.99                       $9,000.99                $0.00                  $0.00                   $0.00



 DATE OF LAST TRANSACTION            CREDITOR AT DATE OF LAST        CHARGE-OFF         DATE OF LAST PAYMENT
 12/09/2015                          TRANSACTION                     DATE               12/09/2015
                                     SYNCHRONY BANK/SAM S CLUB       07/17/2016


 NOTICE AND PAYMENT INFORMATION:

 ADDRESS                             PHONE/FAX         EMAIL                                REFERENCE NUMBER
 P,O. BOX 2011                       (877) 495-2902    MBX_ILMS_13ankruptcy@MCMCG.com       18-136971
 WARREN MI 48090                     (866) 818-1718




BK_0025 Account No.: 18-136971
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         Detailed Description or Claim Activity 6-1
         DMA of Clump      Ow 11110 Al.)* try                    Dweirglen or Cluosnn
         115/2 MOI 0       Midland [7 ted It MemipeerwriL inc,   Gnaloal AfmharlI RA otoi , 1900099

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                                                                                            Inc Better of 19 Bureaukiil Proftie


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                                                Home    lichtoan   Warren   Fmanctat Services > Midland Credit manageme
                                                                                                                                     is this Your Business',   < Share    4g Print
                            Business Profile                                                                                            9   PO Box 2121

                              Not B88
                             Accredited
                                            Midland Credit                                                                                  Warren, MI 48090-2121

                                                                                                                                            ITttos://www,micilandcredit.corni

                                            Management, Inc                                                                                 (866) 300-8750




                                Contact Information                            Customer Reviews                                          BBB Rating & Accreditation
                               9   PO Box 2121
                                                                                ***** 2.73/5
                                   Warren. MI 48090-2121
                               r 4 Get Directions
                                                                                                   cc.., rnp-Any
                               •      httosliwww.midlandcredit_com/            .7, 3                       rev, €nt:                     THIS BUSINESS IS NOT BBB
                                                                                                                                         ACCREDITED
                               •   (866) 300-8750                              Average Of 200 Customer Reviews

                                                                                       Read HO                     Start a               Years in Business: 68
                                                                                       Reviews                     Review

                                                                                                                                         This rating reflects BBB's opinion
                                                                                                                                         about the entire organization's
                                                                               Customer Complaints                                       interactions with its customers,
                                                                                                                                         including interactions with local
                                                                               217 complaints closed in last 3                           locations.
                                                                               years
                                                                               72 complaints closed In last 12
                                                                               months
                                                                                                                                         View HO Business Profile


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https://www.bbb.orgiusimitwarrentprofile/credit-cards-and-plans/midland-credit-managernent-inc-0332-90030603#:—:text=P0%20Box%202121%2C.Warren%2C%20M1%2048090-2121                  1/3
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                                Business Details
                                Location of This Business
                                PO Box 2121. Warren, ME 48090-2121
                                Headquarters
                                350 Camino de la Rerna Ste 100, Sari Diego, CA 92108-3007
                                BBB File Opened:          1/1312017
                                Years in Business:        68
                                Business Started:         2/1:1953
                                Business Incorporated:    5/22/2000
                                Licensing Information:    This business is in an industry that may require professional licensing, bonciing or registration. BBB
                                                          encourages you to check with the appropriate agency to be certain any requirements are currently being
                                                          met.
                                Type of Entity:           Corporation
                                Business Management

                                Mr. Ryan Bell, Executive Vice President and Chief Operating Officer


                                Contact Information

                                Customer Contact
                                Mr. Ryan Bell, Executive Vice President and Chief Operating Officer




                                Industry Tip
                                BBB Tip: How to shop for financial services

                                    Read More




                                Business Categories
                                 Financial Services   Collections Agencies    Consumer Finance Companies




https://www.bbb.org/usimitwarren/profile/credit-cards-and-plansimidland-credit-manaciement-inc-0332-90030603#:--:text.P0%20Box%2021210A,20 Warran°40C0/.9011011%90dAnCin- 191   7/1.
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                                                                                                                     More Info on Local BBB




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                                BBB Reports On
                                BBB reports on known marketplace practices.


                                          See What BBB Reports On




https://www.bbb.org/us/mi/wanen/profile/credit-cards-and-plans/midland-credit-managernent-inc-0332-90030603-#:—.:text=P0%20Box%202121%2C.Warren%2C%20M1%2048090-2121         313
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        UNITED STATES BANKRUPTCY COURT OF GEORGIA NORTHERN DISTRICT




        CASSANDRA JOHNSON-LANDRY }
        DEBTOR                                         BRC 18-55697LRC




        OBJECTION TO CLAIM NUMBER Claim Number 6 (21555879) MIDLAND
        FUNDING

        CASSANDRA JOHNSON-LANDRY, Debtor, currently objects to the above claim,
        totaling 9000.99 by Midland Funding (FACTORING COMPANY) on behalf of
        Synchrony Bank /Sam's. Account was factored out, therefore paying the Creditor.
        Why was a claim filed within the Debtor's Bankruptcy? In addition, account
        numbers do not match previous Sam Account. There are two different accounts.
        There was no refinance by Debtor. Debtor has Identity Theft/Fraud in addition to
        no validation of Debt.

        (EXHIBIT A)




           ' Day of May   21


       CASSANDRA JO        SON-LA74  -0   , PRO-SE
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       UNITED STATES BANKRUPTCY COURT OF GEORGIA NORTHERN DISTRICT
                          CERTIFICATE OF SERVICE


       I, CASSANDRA JOHNSON-LANDRY, Debtor currently submit Certificate of Service
       Regarding OBJECTION TO CLAIM NUMBER Claim Number 6 (21555879)
       MIDLAND FUNDING the 18th day of May 2021. Debtor is over the age of 18 years.
       COS and Objection will be mailed by the USPS to:

       MIDLAND FUNDING
       2365 NORTHSIDE DR S'TE 30
       SAN DIEGO, CA 92108


       S. GREGORY HAYS, CHAPTER 7 TRUSTEE          •
       2964 PEACHTREE ROAD, SUITE 555
       ATLANTA, GEORGIA 30305

       HERBERT BROAD FOOT, ESQ
       2964 PEACHTREE ROAD, SUITE 555
       ATLANTA, GEORGIA 30305




       18111 DAY OF MAY 2021




       CASSANDRA J      NSON-L        Y, PRO SE
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                                                     https://www.freecreditrepor1com/c/#/print/expedan/201710031621501417

   CASSANDRA LAN DRY - Experian
   Date of Report Oct 3,2017                                                                                                         11..p..xperian.
                                                                              MIDLAND FUNDING
    A                                                                            857177XXXX
                                                                                                                                                  Closed


        ACCOUNT DETAILS                                                                   CONTACT INFORMATION

        Account Name                                                MIDLAND FUNDING       2365 NORTHSI DE DR STE 30
                                                                                          SAN DIEGO, CA 92108
        Account #                                                        857172XXXX       (844) 236-1959

        Original Creditor                                           SYNCHRONY BANK        PAYMENT HISTORY

        Company Sold                                                                              2017                2016
                                                                                          Jan Feb Mar Apt       Jan Feb Mar Apr
        Account Type                                                Factoring Company     000EI
                                                                                          May Jul
                                                                                                  0000
                                                                                                Jun       Aug   May Jun Jul Aug
        Date Opened                                                       Aug 1, 2016     000E 0000
                                                                                          Sep Oct Nov Dec       Sep Oct Nov Dec
        Account Status                                                         Closed
                                                                                          2000 =00
        Payment Status      Seriously past due date / assigned to attorney, collection
                            agency, or credit grantor's Internal collection department

        Status Updated                                                     Jan 1,2017

        Balance                                                                 S9,001
                                                            - 4-
        Balance                                                          Sep 18,2017
        Updated

        Original Balance                                                          9001

        Monthly
        Payment

        Past Due                                                                59,001
        Amount
                                                              -4-
        Highest Balance

        Terms                                                                 1 Month

        Responsibility                                                       Individual

        Your Statement

        Comments



                                                               4




        Summaly                     Accounts             ,>          Collections                         Inquiries          Public Records Credit Score




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      CASSANDRA LANDRY- Experian
      Date of Report: Oct 3,2017

                                                                                            SYNCB/SAMS CLUB DC
      A                                                                                                                                                                            Closed
                                                                                             521333XXXXXXXXVX

            ACCOUNT GETAILS                                                                                   CREDIT USAGE

            Account Name                                                   SYNCB/SAMS CLUB DC                                   No Credit Usage
                                                                                                                                You have no account balance. Keeping your account
            Account #                                                         521333XXXXXXXXXX
                                                                                                                                balances as low as possible can have a positive Impact
            Original Creditor                                                                                                   on your credit.

            Company Sold
                                                                                                              CONTACT INFORMATION
            Account Type                                            Credit Card- Revolving Terms
                                                                                                              PO BOX 965005
            Date Opened                                                                   Sep 1,2013          ORLANDO, FL 32696
                                                                                                              (866) 220-0254
            Account Status                                                                     Closed
                                                                                                              PAYMENT HISTORY
            Payment Status                                                                 Charge-off
                                                                                                                    2016               2015              2014
            Status Updated                                                                                    Jan Feb Mar Apr   Jan Feb Mar Apr    Jan Feb Mar Apr
                                                                                          Sept, 2016
                                                                                                              OECD
                                                                                                              May Jun Jul Aug
                                                                                                                                 €II          DODO
                                                                                                                                May Jun Jul Aug
                                                                                                                                              May Jun Jul Aug
            Balance                                                                                  SO

            Balance Updated
                                                                                                              El CO Eti       ODE3C3C3C3C1C3
                                                                                                              Sep Oct Nov Dec Sep Ott Nov Dec Sep Oct Nov Dec
                                                                                          Sep 5,2016

            Credit Limit                                                                       67,850
                                                                                                              C3C3C10 CDOC3C10020
                                                                                                                    2019
            Monthly Payment                                                                                   Jan Feb mar Apr

            Past Due Amount
                                                                                                              0000
                                                                                                              May Jun J1 Aug

            Highest Balance                                                                                   DODO
                                                                                                              Sep Oct Nov Occ

            Terms                                                                           Revolving         DODD

             Responsibility                                                                 Individual

            Your Statement

             Comments                        Transferred to another leader or clalm purchased




                                                                                                          -
           Summary                      >     Accounts (Closed)                          - Collections                     Inquiries          Public Records Credit Score




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                                                https://www,freecreditreport.com/c/Nptintiexperian/201710031621501417

    CASSANDRA LANDRY • Experian
    Date of Report: Oct 3, 2017                                                                                                       !expenan.
                                                                       SYNCB/SAMS CLUB
                                                                          71417X0XXX                                                                      Closed


         ACCOUNT DETAILS                                                           CREDIT USAGE

         Account Name                                       SYNCB/SAMS CLUB                          Unknown Credit Usage
                                                                                                     Credit usage could not be calculated for this account
         Account 4                                               771412XXXXXX
                                                                                                     because either the balance and/or credit limit were not
         Original Creditor                                                                           reported.

         Company Sold
                                                                                   CONTACT INFORMATION
                                                      -4-
         Account Type                                Revolving Charge Account
                                                                                   PO BOX 965005
         Date Opened                                                Nov 1,2005     ORLANDO, FL 32896
                                                                                   (800) 9641917
         Account Status                                                  Closed
                                                                                   PAYMENT HISTORY
         Payment Status                    Account transferred to another office
                                                                                         2013              2012                2011
         Status Updated                                                            Jan Feb Mar Apr   Jan Feb Mar Apr    Jan Feb Mar Apr
                                                                    Oct 1.2013
                                                                                   DODO            DEIDOC:30C3CD
                                                                                   May Jun Jul Aug May Jun Jul Aug May Jun Jul Aug
         Balance

         Balance Updated                                           Oct 22, 2013
                                                                                   DOCJE           CEDEC ODOEI
                                                                                   Sep Oct Nov Dec Sep Oct Nov Dec Sep Oct Nov Dec

         Credit Limit                                                    $7,200
                                                                                   DO      OD      DODD CIOCIO
                                                                                         2010              2009               2008
         Monthly Payment                                                           Jan Feb Mar Apr   Jan Feb Mar Apr    Jan Feb mar Apr

         Past Due Amount
                                                                                   0002                            Ell
                                                                                   May Jun Jul Aug May Jun Jul Aug May Jun Jul Aug

         Highest Balance                                                 62,821
                                                                                   DODD            ODOC] DODO
                                                                                   Sep Out Nov Dec Sep Oct Nov Dec Sep Oct Nov Dee
         Terms                                                        Revolving    ECIDC] DODO EIDOCJ
         Responsibility                                                                  2007              2006
                                                                      Individual
                                                                                   Jan Feb Mar Apr   Jan Feb Mar Apr
         Your Statement                                                            DODO            GOOD
                                                                                   May Jun Al Aug May Jun Jul Aug
         Comments                    Account closed due to transfer or refinance   DODO            DODO
                                                                                   Sep Oct Nov Dec Sep Oct Noy Dec
                                                                                   CiOCIO 0000




       Summary                    Accounts (Closed)                 Collections              Inquiries         :Public Records Credit Score




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